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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

MONROE COUNTY EMPLOYEES’
RETIREMENT SYSTEM, Individually and on
behalf of all others similarly situated,

             Plaintiff,

                                           Case No.: 1:21-cv-00722-JPO
v.
                                           Hon. J. Paul Oetken
ASTRAZENECA PLC, PASCAL SORIOT,
MARC DUNOYER and MENELAS
PANGALOS,

             Defendants.

VLADIMIR ZHUKOV, Individually and on
behalf of all others similarly situated,

             Plaintiff,

v.                                         Case No.: 1:21-cv-00825-JPO

ASTRAZENECA PLC, PASCAL SORIOT,            Hon. J. Paul Oetken
MARC DUNOYER, and MENELAS
PANGALOS,

             Defendants.


         MEMORANDUM OF LAW IN SUPPORT OF CAROL GRAY’S
     MOTION FOR CONSOLIDATION OF THE ACTIONS, APPOINTMENT AS
      LEAD PLAINTIFF, AND APPROVAL OF SELECTION OF COUNSEL
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       Carol Gray (“Movant”) respectfully submits this memorandum of law in support of her

motion (“Motion”) to consolidate the above-captioned related actions (the “Actions”), appoint her

as lead plaintiff, and approve her selection of Levi & Korsinsky, LLP (“Levi & Korsinsky”) as

Lead Counsel pursuant to Section 21D of the Securities Exchange Act of 1934, as amended by the

Private Securities Litigation Reform Act of 1995 (“PSLRA”), on behalf of all purchasers of

AstraZeneca plc (“AstraZeneca” or the “Company”) securities between May 21, 2020 and

November 20, 2020, inclusive (the “Class” who purchased during the “Class Period”), concerning

claims under Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange

Act”), 15 U.S.C. §§78j(b) and 78t(a), and Rule 10b-5, 17 C.F.R. §240.10b-5, with jurisdiction

conferred by §27 of the Exchange Act, 15 U.S.C. §78aa, against Defendants AstraZeneca, Pascal

Soriot (“Soriot”), Marc Dunoyer (“Dunoyer”), and Menelas Pangalos (“Pangalos”) (collectively,

“Defendants”).

       Pursuant to the PSLRA, the person or group of persons with the largest financial interest

in the relief sought by the Class who also satisfy the requirements of Rule 23 of the Federal Rules

of Civil Procedure are presumed to be the “most adequate” plaintiff—i.e., the plaintiff most

capable of adequately representing the interests of Class members. The PSLRA provides that the

Court shall appoint the most adequate movant as lead plaintiff. Movant believes that she is the

“most adequate” Movant, as defined by the PSLRA, and should be appointed lead plaintiffs based

on the substantial financial losses she suffered as a result of defendants’ wrongful conduct as

alleged in this litigation. Moreover, Movant satisfies the relevant requirements of Rule 23 of the

Federal Rules of Civil Procedure, as her claims are typical of other Class members’ claims and she

will fairly and adequately represent the interests of the Class. In addition, Movant’s selection of

Levi & Korsinsky as Lead Counsel should be approved because the firm has substantial experience
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in securities class action litigation and the experience and resources to efficiently prosecute these

Actions.

I.     FACTUAL BACKGROUND 1

       Defendant AstraZeneca is one of the largest biopharmaceutical companies in the world. ¶

11. The Company is headquartered in Cambridge, England, and it maintains its North American

headquarters in Wilmington, Delaware, a global research and development center in Gaithersburg,

Maryland, and a primary commercial and manufacturing hub in Boston, Massachusetts.

AstraZeneca is primarily known for its development of drugs to treat cancer, asthma, and other

chronic conditions, and has not historically specialized in vaccine development. Id.

       AstraZeneca was one of the early front-runners in the race to develop a COVID-19 vaccine.

¶ 17. In April 2020, the Company partnered with Oxford University to develop a potential

recombinant adenovirus vaccine for the virus, later dubbed AZD1222. Id. Oxford University’s

work on developing a COVID-19 vaccine began in January 2020, almost as soon as the virus was

recognized globally. Id. Volunteers for the first clinical trial were recruited and screened in March

2020, and a Phase 1 clinical trial was launched the following month. Id.

       AstraZeneca issued a release on November 23, 2020 announcing the results of an interim

analysis of its ongoing trial for AZD1222. ¶ 34. Although the release claimed that the drug

candidate had met its primary efficacy endpoints, the announcement immediately began to raise

questions among analysts and industry experts. Id. AstraZeneca disclosed that the interim analysis

involved two smaller scale trials in disparate locales (the United Kingdom and Brazil) that, for



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  Citations to “¶ __” are to paragraphs of the Class Action Complaint (the “MCERS Complaint”)
filed in the action styled Monroe County Employees’ Retirement System v. AstraZeneca Plc, et.
al., Case No. 1:20-cv-00722-JPO (the “MCERS Action”). Unless otherwise defined, capitalized
terms shall have the same meaning set forth in the MCERS Complaint. The facts set forth in the
MCERS Complaint are incorporated herein by reference.

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unexplained reasons, employed two different dosing regimens. Id.

       The unexplained discrepancies, omissions, and the need for multiple trials in separate

locales raised red flags for investors and distinguished AstraZeneca’s trial procedures from those

of other biopharmaceutical companies, such as Pfizer and Moderna, that had recently released

interim results for their own COVID-19 vaccine candidates. ¶ 35. With questions surrounding

AstraZeneca’s announcement growing, the price of AstraZeneca ADSs plummeted nearly $2 per

ADS during the trading day on November 23, 2020, on extremely high trading volume of over 13

million ADSs traded. Id.

       Analysts and reporters widely panned the faulty trial design and failure of AstraZeneca to

be forthright with the public and investors, describing AstraZeneca’s interim results as a “mess,”

riddled with “irregularities and omissions,” and the product of “cherry-picked . . . data” and “very

shaky science.” ¶ 38. For example, Wired issued a report on November 25, 2020 on AstraZeneca’s

botched trial results entitled “The AstraZeneca Covid Vaccine Data Isn’t Up to Snuff.” Id.

       As negative news reports continued to expose previously undisclosed problems and flaws

in the Company’s clinical trials for AZD1222, the price of AstraZeneca ADSs dropped by market

close on November 25, 2020 to $52.60, a 5% decline over three trading days in response to adverse

news on abnormally high volume. ¶ 40.

       As a result of defendants’ wrongful acts and omissions, plaintiff and the Class (as defined

below) purchased AstraZeneca ADSs at artificially inflated prices and suffered significant losses

and were damaged thereby. ¶ 41.

II.    PROCEDURAL HISTORY

       Pending before this Court is the above-captioned MCERS Action against the Defendants.

Plaintiff Monroe County Employees’ Retirement System (“MCERS”) commenced the first-filed



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action on January 26, 2021. On that same day, counsel acting on MCERS’ behalf published a

notice on Business Wire announcing that a securities class action had been initiated against the

Defendants. See Exhibit C (“Press Release”) to the Declaration of Shannon L. Hopkins in Support

of Movant’s Motion (“Hopkins Decl.”).

       On January 29, 2021, a substantially similar action was filed against AstraZeneca in this

Court, entitled Zhukov v. AstraZeneca Pl., et al., Case No. 1:21-cv-00825-JPO (S.D.N.Y.) (the

“Zhukov Action”). Movant has requested consolidation of the MCERS and Zhukov Actions.

III.   ARGUMENT

               A.      Consolidation of the Actions Is Appropriate

       The PSLRA provides that “[i]f more than one action on behalf of a class asserting

substantially the same claim or claims arising under this [sub-]chapter have been filed,” the Court

shall not make the determination of the most adequate plaintiff until “after the decision on the

motion to consolidate is rendered.” 15 U.S.C. §78u-4(a)(3)(B)(ii). Thereafter, the Court “shall

appoint the most adequate plaintiff for the consolidated actions.” Id.

       Under the Federal Rules of Civil Procedure, consolidation is appropriate when the actions

involve common questions of law or fact. See Fed. R. Civ. P. 42(a). “[C]ourts have taken the

view that considerations of judicial economy favor consolidation.” Weltz v. Lee, 199 F.R.D. 129,

131 (S.D.N.Y. 2001) (quoting Johnson v. Celotex Corp., 899 F.2d 1281, 1284-85 (2d Cir. 1990)).

Consolidation is particularly appropriate in securities class action litigation. See Martingano v.

Am. Int'l Grp., Inc., Nos. 06-cv-1625-JG-JMA, 2006 U.S. Dist. LEXIS 47855, at *3-5 (E.D.N.Y.

July 11, 2006) (citing Ferrari v. Impath, Inc., 2004 U.S. Dist. LEXIS 13898, at *2 (S.D.N.Y. July

15, 2004)) (“In securities class action cases…courts have deemed consolidation particularly

appropriate where the actions are based on the same public statements and reports, if there are



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common questions of law and fact and [if] the defendant will not be prejudiced…” (citation and

quotations omitted). Courts, therefore, routinely find that consolidating multiple securities cases is

an efficient solution where the complaints arise generally from the same alleged false and

misleading statements.

       The Actions present similar factual and legal issues, as they all involve the same subject

matter and are based on the same wrongful course of conduct. The Actions name substantially the

same parties as defendants. Because they arise from the same facts and circumstances and involve

the same subject matter, the same discovery and similar class certification issues will be relevant

to all related actions. Accordingly, consolidation under Rule 42(a) is appropriate. See Celotex

Corp., 899 F.2d at 1285.

               B.      Appointing Movant as Lead Plaintiff Is Appropriate

       The PSLRA provides the procedure for selecting a lead plaintiff in class actions brought

under the federal securities laws. The PSLRA directs courts to consider any motion to serve as

lead plaintiff filed by class members in response to a published notice of class action by the later

of: (i) 90 days after the date of publication of the notice; or (ii) as soon as practicable after the

Court decides any pending motion to consolidate. 15 U.S.C. § 78u-4(a)(3)(B) The PSLRA

provides a “rebuttable presumption” that the “most adequate plaintiff” — i.e., the plaintiffs most

capable of adequately representing the interests of the Class — is the class member or group of

class members that:

       (aa) has either filed the complaint or made a motion in response to a notice. . .

       (bb) in the determination of the Court, has the largest financial interest in the
       relief sought by the class; and

       (cc) otherwise satisfies the requirements of Rule 23 of the Federal Rules of Civil
       Procedure.



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15 U.S.C. § 78u-4(a)(3)(B)(iii)

       The presumption “may be rebutted only upon proof by a purported member of the plaintiff

class that the presumptively most adequate plaintiff—

           (aa) will not fairly and adequately protect the interest of the class; or

           (bb) is subject to unique defenses that render such plaintiff incapable of
           adequately representing the class.”

15 U.S.C. § 78u-4(a)(3)(B)(iii)(I).

       As set forth below, Movant satisfies the forgoing criteria and has complied with all of the

PSLRA’s requirements to be appointed lead plaintiff. Movant has, to the best of her knowledge,

the largest financial interest in this litigation—having lost $35,983.73 as a result of her transactions

and meet the relevant requirements of Federal Rule of Civil Procedure 23. See Loss Chart, Ex. B

to Hopkins Decl. In addition, Movant is not aware of any unique defenses that Defendants could

raise against her that would render her inadequate to represent the Class. Accordingly, Movant

respectfully submits that she should be appointed as lead plaintiff. See Brady v. Top Ships Inc.,

324 F. Supp. 3d 335, 350 (E.D.N.Y. 2018).

                       Movant Filed a Timely Motion.

       On January 26, 2021, pursuant to 15 U.S.C. § 78u-4(a)(3)(A)(i), counsel for MCERS

published the Press Release on Business Wire—a widely circulated national business-oriented wire

service—announcing that a securities class action had been filed against defendants herein and

advising purchasers of AstraZeneca securities that they had 60 days from the publication of the

January 26, 2021 notice to file a motion to be appointed as lead plaintiff. See Press Release, Ex. C

to Hopkins Decl.; In re Hebron Tech. Co. Sec. Litig., C.A. No. 1:20-cv-4450-PAE, 2020 US Dist.

LEXIS 169480, at *6 (S.D.N.Y. Sep. 16, 2020) (finding that a notice published on Business Wire

satisfied Rule 23).


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        Movant timely filed her motion within the 60-day period following publication of the

January 26, 2021 Press Release and submitted herewith a sworn certification attaching her

transactions in AstraZeneca securities and attesting that she is willing to serve as representative of

the Class. See Hopkins Decl., Ex. A. By making a timely motion in response to a PSLRA notice,

Movant satisfies the first PSLRA requirement to be appointed as lead plaintiff. See 15 U.S.C. §

78u-4(a)(3)(B)(iii)(aa).

                         Movant Has the Largest Financial Interest in the Relief Sought.

        The PSLRA requires a court to adopt the rebuttable presumption that “the most adequate

plaintiff . . . is the person or group of persons that . . . has the largest financial interest in the relief

sought by the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii). At the time of this filing, Movant believes

that she has the largest financial interest among Class members who filed timely applications for

appointment as lead plaintiff and, accordingly, is presumed to be the “most adequate plaintiff.”

        Movant acquired AstraZeneca securities at prices alleged to have been artificially inflated

by Defendants’ materially false and misleading statements and was injured thereby. As a result of

Defendants’ false statements, Movant suffered an approximate loss of $35,983.73. See Hopkins,

Ex. B. Movant is unaware of any other Class member claiming a larger financial interest in this

matter that has filed a motion for appointment as lead plaintiff. Consequently, Movant believes

that she has the “largest financial interest in the relief sought by the Class.” Thus, Movant satisfies

the second PSLRA requirement—the largest financial interest—and should be appointed as lead

plaintiff for the Class. See Top Ships, 324 F. Supp. 3d at 350.

                         Movant Satisfies the Relevant Requirements of Rule 23.

        The PSLRA further provides that in addition to possessing the largest financial interest in

the outcome of the litigation, the lead plaintiff must “otherwise satisfy the requirements of Rule



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23 of the Federal Rules of Civil Procedure.” See 15 U.S.C. § 78u-4(a)(3)(B)(iii)(I)(cc). Rule 23(a)

generally provides that a class action may proceed if the following four requirements are satisfied:

           (1) the class is so numerous that joinder of all members is impracticable, (2)
           there are questions of law or fact common to the class, (3) the claims or defenses
           of the representative parties are typical of the claims or defenses of the class,
           and (4) the representative parties will fairly and adequately protect the interest
           of the class.

FED. R. CIV. P. 23(a).

       In making its determination that a lead plaintiff candidate satisfies the requirements of Rule

23, typicality and adequacy are the only provisions of Rule 23 that are to be considered. Ford v.

VOXX Int'l Corp., No. 14-cv-4183-JS-AYS, 2015 U.S. Dist. LEXIS 92705, at *6 (E.D.N.Y. Apr.

13, 2015) (citing In re Gentiva Sec. Litig., 281 F.R.D. 108, 112 (E.D.N.Y. 2012)). At the lead

plaintiff stage of the litigation, Movant need only make a preliminary showing that she satisfies

Rule 23’s typicality and adequacy requirements. Id. at *6.

                         a.    Movant’s Claims Are Typical.

       The Rule 23(a) typicality requirement is satisfied when a lead plaintiff’s claims arise from

the same event, practice, or course of conduct that gives rise to other class members’ claims, and

lead plaintiff’s claims are based on the same legal theory. See Kuriakose v. Fed. Home Loan Mortg.

Co., No. 1:08-cv-7281-JFK, 2008 WL 4974839, at *5 (S.D.N.Y. Nov. 24, 2008); Rule 23 does not

require the lead plaintiff to be identically situated with all class members. Id.

       Movant’s claims are typical of the claims asserted by the proposed Class. Like all members

of the Class, Movant alleges that Defendants’ material misstatements and omissions concerning

AstraZeneca’s business, operations and financial condition violated the federal securities laws.

Movant, like all members of the Class, purchased or otherwise acquired AstraZeneca securities

during the Class Period. Waterford Twp. Police & Fire Ret. Sys. v. Smithtown Bancorp, Inc., No.



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10-cv-00864-SLT, 2011 U.S. Dist. LEXIS 88552, at *12 (E.D.N.Y. May 31, 2011) (typicality

satisfied where Movant purchased stock at artificially inflated prices “and suffered damages as a

result”). Accordingly, Movant’s interests and claims are “typical” of the interests and claims of

the Class.

                       b.      Movant Is An Adequate Representative.

       “The adequacy requirement is satisfied where: (1) class counsel is qualified, experienced,

and generally able to conduct the litigation; (2) there is no conflict between the proposed lead

plaintiff and the members of the class; and (3) the proposed lead plaintiff has a sufficient interest

in the outcome of the case to ensure vigorous advocacy.” City of Monroe Emps.’ Ret. Sys. v.

Hartford Fin. Servs. Grp., 269 F.R.D. 291, 297 (S.D.N.Y. 2010). Movant has demonstrated her

adequacy by retaining competent and experienced counsel, Levi & Korsinsky, with the resources

and expertise to efficiently prosecute the Actions, and Movant’s financial losses ensure that she

has sufficient incentive to ensure the vigorous advocacy of the Actions. See Hopkins Decl., Ex. B.

Movant is not aware that any conflict exists between her claims and those asserted on behalf of

the Class.

       Moreover, Movant is an adequate representative for the Class. Movant considers herself to

be a sophisticated investor, having been investing in the stock market for ten years. She resides in

Eddyville, Kentucky, and possesses a bachelor’s degree in Chemical Engineering. Currently,

Movant is employed as an Engineer. Therefore, Movant will prosecute the Actions vigorously on

behalf of the Class.

       Accordingly, Movant meets the adequacy requirement of Rule 23.

               C.      Approving Lead Plaintiff’s Choice of Counsel Is Appropriate.

       The PSLRA vests authority in the lead plaintiff to select and retain counsel, subject only



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to approval of the Court. See 15 U.S.C. § 78u-4(a)(3)(B)(v); In re Cendant Corp., 264 F.3d 201,

274 (3d Cir. 2001). Thus, the Court should not disturb the lead plaintiff’s choice of counsel unless

necessary to “protect the interests of the class.” 15 U.S.C. § 78u-4(a)(3)(B)(iii)(II)(aa).

       Here, Movant has selected Levi & Korsinsky to pursue this litigation on her behalf and has

retained the firm as the Class’ Lead Counsel in the event she is appointed as lead plaintiff. Levi &

Korsinsky possesses adequate experience in securities litigation and has successfully prosecuted

numerous securities class actions on behalf of injured investors, as reflected by the Firm Résumé

attached to the Hopkins Decl. as Ex. D. Moreover, Levi & Korsinsky has often been appointed as

lead counsel in similar actions in this Circuit and across the country arising under the federal

securities laws on behalf of investors. See also e.g., Daniels Family 2001 v. Las Vegas Sands

Corp., 2021 U.S. Dist. LEXIS 974, at *8 (D. Nev. Jan. 5, 2021) (appointing Levi & Korsinsky as

lead counsel noting the firm’s “extensive experience in complex securities class actions”); White

Pine Invs. v. CVR Ref., 2021 U.S. Dist. LEXIS 1199, at *10 (S.D.N.Y. Jan. 5, 2021) appointing

Levi & Korsinsky noting “the firm has ‘extensive experience’ in this area of law and is sufficiently

qualified to conduct this litigation”; Deinnocentis v. Dropbox, Inc., 2020 U.S. Dist. LEXIS

8680, at *13 (N.D. Cal. Jan. 16, 2020); Nickerson v. American Electric Power Company, Inc., et

al., No. 2:20-cv-04243-SDM-EPD, Dkt. No. 16 (S.D. Ohio Nov. 24, 2020). Thus, the Court may

rest assured that by granting Movant’s motion, the Class will receive the highest caliber of legal

representation possible.

IV.    CONCLUSION

       For the foregoing reasons, Movant respectfully requests that the Court grant her Motion

and enter an Order: (1) consolidating the Actions, (2) appointing Movant as Lead Plaintiff, (3)

approving her selection of Levi & Korsinsky as Lead Counsel for the Class, and (4) granting such



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other relief as the Court may deem just and proper.



Dated: March 29, 2021                                 Respectfully Submitted,

                                                      LEVI & KORSINSKY, LLP

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                                                      [Proposed] Lead Counsel for the Class




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